                IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


SAMUEL SHAW,                         )
                                     )
                 Plaintiff,          )
                                     )
     v.                              )        1:18CV557
                                     )
ELON UNIVERSITY,                     )
                                     )
                 Defendant.          )


                     MEMORANDUM OPINION AND ORDER

OSTEEN, JR., District Judge

     Presently before this court is Defendant’s Motion to

Dismiss Plaintiff’s Amended Complaint. (Doc. 15.) Defendant has

filed a brief in support of its motion, (Doc. 16), Plaintiff has

responded in opposition, (Doc. 17), and Defendant has replied,

(Doc. 20). For the reasons that follow, Defendant’s Motion to

Dismiss will be granted.

I.   BACKGROUND

     This case involves a university’s disciplinary process in

suspending a student following a physical altercation with

another student. The facts alleged, construed in the light most

favorable to Plaintiff, are as follows.

     Plaintiff Samuel Shaw, a citizen and resident of

Massachusetts, was a student at Defendant Elon University

(“Elon”). (Amended Complaint (“Am. Compl.”) (Doc. 14) at 1 ¶ 1,




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at 2 ¶ 1.)1 Elon University is a private university in North

Carolina. (See id. at 1 ¶ 2.)

     A.   The Student Handbook

     Elon’s Division of Student Life publishes an annual Student

Handbook, which outlines Elon’s campus policies, procedures, and

regulations. (See id. at 2 ¶ 2; see also Def.’s Motion to

Dismiss, Ex. 1, Student Handbook (Doc. 15-1).)2 Sections 5 and 6

of the Student Handbook outline Elon’s Code of Conduct and

Formal Conduct Procedures, respectively. (See Student Handbook

(Doc. 15-1) at 14-51.) Elon’s Code of Conduct provides that

“[p]rocedures and rights in the student conduct process are

conducted with fairness to all.” (Am. Compl. (Doc. 14) ¶ 3;

Student Handbook (Doc. 15-1) at 14.) Elon’s Formal Conduct

Procedures set forth Elon’s student-disciplinary procedures for


     1 All citations in this Memorandum Opinion and Order to
documents filed with the court refer to the page numbers located
at the bottom right-hand corner of the documents as they appear
on CM/ECF.

     2 Defendant attached the relevant portions of the Student
Handbook to its Motion to Dismiss. (See Student Handbook (Doc.
15-1).) This court will consider the Student Handbook without
converting Defendant’s motion to one for summary judgment. See
Zak v. Chelsea Therapeutics Int’l, Ltd., 780 F.3d 597, 606-07
(4th Cir. 2015) (alteration, internal citations and quotation
marks omitted) (“Consideration of a document attached to a
motion to dismiss ordinarily is permitted only when the document
is integral to and explicitly relied on in the complaint, and
when the plaintiffs do not challenge the document's
authenticity.”).

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violations of the Code of Conduct and provide that potential

violations of the Code of Conduct “should be handled

expeditiously and thoroughly.” (Am. Compl. (Doc. 14) ¶ 5;

Student Handbook (Doc. 15-1) at 35.) The Formal Conduct

Procedures are “flexible”; they prioritize consistent

disciplinary outcomes in similar situations but also note “that

not all situations are of the same severity or complexity.” (Am.

Compl. (Doc. 14) ¶¶ 5-6; Student Handbook (Doc. 15-1) at 35.)

The Formal Conduct Procedures also state that, “[c]onsideration

will be given to all available and credible information relevant

to” a student’s potential violation of Elon’s Code of Conduct.

(Am. Compl. (Doc. 14) ¶ 5; Student Handbook (Doc. 15-1) at 35.)

The Formal Conduct Procedures outline a three-step process for

student disciplinary proceedings, which Elon “typically”

follows: (i) a preliminary inquiry, (ii) a student conduct

conference, and (iii) a formal hearing. (Am. Compl. (Doc. 14)

¶ 7; Student Handbook (Doc. 15-1) at 35, 40-42.) Formal hearings

conclude “with the rendering of a ‘Responsible’ or ‘Not

Responsible’ decision . . . based on the preponderance of the

evidence and appropriate sanctions will be assigned if

warranted.” (Am. Compl. (Doc. 14) ¶ 32; Student Handbook (Doc.

15-1) at 42.) If a hearing officer’s recommended sanction is

disciplinary suspension, then the hearing officer is to consult

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with Elon’s Dean of Students prior to issuing a final decision.

(Am. Compl. (Doc. 14) ¶ 32; Student Handbook (Doc. 15-1) at 42.)

The Formal Conduct Procedures also set forth applicable

timelines: the preliminary inquiry “typically” takes one to

seven business days, (Student Handbook (Doc. 15-1) at 40);

charges are “usually” set, and an administrative hearing

scheduled, within five business days of the student conduct

conference, (id. at 42); and “most” formal hearings are

conducted within thirty days of the potential violation. (Id.)

Fighting and acts of physical aggression violate Elon’s Code of

Conduct. (See id. at 26.)

    B.    The October 20, 2017 Incident

    On the night of October 20, 2017, Plaintiff attended an

Elon sorority event. (See Am. Compl. (Doc. 14) ¶ 8.) He consumed

no alcohol, left the event by bus, and was picked up at the bus

drop-off location by Nick Marano, who was serving as a

designated driver for the evening. (Id. ¶ 9.) Shortly

thereafter, Plaintiff’s friend, Nate Joslin, called Marano and

asked him to pick up an intoxicated individual – who Plaintiff

later identified as Spencer Schar, the son of a significant

financial donor to Elon – who had allegedly assaulted two female

students. (Id. ¶¶ 10-11, 15-16.) Marano, accompanied by

Plaintiff and another individual, Andrew Dewdney, drove to pick

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up Schar. (Id. ¶ 12.) Upon arriving at Schar’s location,

Plaintiff observed Schar punch Joslin while he was not looking,

causing Joslin to drop to the ground bleeding. (Id. ¶¶ 12-13.)

Believing Schar to be a threat to Joslin and the two female

students Schar had allegedly assaulted, Plaintiff exited

Marano’s vehicle, tackled Schar, and then struck him. (Id.

¶ 14.) Following the altercation, the group subdued Schar, and

Marano drove him home. (See id. ¶ 17.)

    Plaintiff alleges that the Elon Police Department

investigated the incident and found that Plaintiff had acted in

self-defense. (Id. ¶ 18.)

    C.    Elon’s Disciplinary Process

    On October 30, 2017, Randall Williams, Elon’s Director of

Student Conduct, began a preliminary investigation of the

incident on October 20, 2017. (Id. ¶ 24.) Williams first

interviewed Schar and his mother. (See id. ¶ 21.) During that

interview, Schar did not implicate Plaintiff in the altercation.

(See id. ¶ 22.) Schar provided Plaintiff’s name to Williams on

or about November 6, 2017. (Id. ¶ 25.) On November 28, 2017,

Plaintiff was notified that Williams had scheduled a student

conduct conference. (Id. ¶ 26.) On December 4, 2017, Williams

held Plaintiff’s student conduct conference, during which

Plaintiff provided a statement about the incident on October 20,

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2017. (Id. ¶¶ 28-29.) On December 7, 2017, Williams interviewed

Marano and Dewdney about the incident, and they both provided

statements. (Id. ¶ 30.) Plaintiff was notified later that day

that a formal hearing had been scheduled. (See id. ¶ 31.) On

December 14, 2017, at 11:00 a.m., Williams began Plaintiff’s

formal hearing via telephone. (Id. ¶ 33.) At 11:17 a.m.,

Williams entered a case resolution form, indicating that

Plaintiff was responsible for “fighting or acts of aggression

and disorderly conduct.” (Id. ¶ 34.)

     Sometime between December 14, 2017 and December 21, 2017,

Elon suspended Plaintiff. (See id. ¶¶ 33-35.)3 It appears that

Elon also suspended Schar, allegedly for a shorter duration than

Plaintiff. (Am. Compl. (Doc. 14) ¶ 37.) Plaintiff appealed his

disciplinary suspension to Elon’s Appeal Board, which upheld the

suspension. (Id. ¶ 35.)

     Plaintiff alleges that inspection of his disciplinary

conduct file revealed no evidence about Schar’s injuries and no

statement from Schar or any of the material witnesses about the

events of October 20, 2017. (See id. ¶ 36.)




     3 Plaintiff does not allege in the Amended Complaint the
details of his disciplinary suspension. In his original
complaint, he alleged that Elon suspended him for one calendar
year due to Schar’s “severe injuries.” (Doc. 2 ¶ 35.)

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    D.    Procedural History

    Plaintiff originally filed this action in North Carolina

state court on June 8, 2018, and Defendant removed it to this

court on June 26, 2018. (See Doc. 1-1 at 1; Doc. 1 at 1.) On

September 17, 2018, Plaintiff filed his Amended Complaint. (See

Am. Compl. (Doc. 14).)

    Plaintiff’s single claim is for breach of contract. (Id.

¶¶ 38-53.) Plaintiff alleges that Elon made the specific

promises set forth in the Code of Conduct in consideration of

the fees and other expenses paid by Plaintiff to Elon. (Id.

¶ 43.) Elon allegedly breached those contractual obligations by

failing to follow its Formal Conduct Procedures during

Plaintiff’s disciplinary proceedings, (id. ¶¶ 44-45), and by

subjecting Schar to a shorter disciplinary suspension for

allegedly more egregious behavior, (see id. ¶ 46). Specifically,

Plaintiff alleges that Defendant breached its contractual

promises by not “following the timeline that it established for

investigating and adjudicating student conduct matters,

considering all relevant and credible evidence, applying its

procedures consistently, and adhering to its tenant [sic] of

‘fairness to all.’” (Id. ¶ 44.)

    On September 20, 2018, Defendant moved to dismiss

Plaintiff’s Amended Complaint pursuant to Federal Rule of Civil

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Procedure 12(b)(6). (Doc. 15 at 1.) Defendant argues primarily

that Plaintiff’s Amended Complaint fails to state a claim upon

which relief can be granted because Plaintiff fails to allege a

valid and enforceable contract. (See (Doc. 16) at 6-14.)

II.   LEGAL STANDARD

      “To survive a motion to dismiss, a complaint must contain

sufficient factual matter, accepted as true, to ‘state a claim

to relief that is plausible on its face.’” Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly,

550 U.S. 544, 570 (2007)). A claim is plausible on its face if

“the plaintiff pleads factual content that allows the court to

draw the reasonable inference that the defendant is liable” and

demonstrates “more than a sheer possibility that a defendant has

acted unlawfully.” Iqbal, 556 U.S. at 678 (citing Twombly, 550

U.S. at 556–57). When ruling on a motion to dismiss, this court

accepts the complaint’s factual allegations as true. Iqbal, 556

U.S. at 678. Further, this court liberally construes “the

complaint, including all reasonable inferences therefrom, . . .

in plaintiff’s favor.” Estate of Williams-Moore v. All. One

Receivables Mgmt., Inc., 335 F. Supp. 2d 636, 646 (M.D.N.C.

2004) (citation omitted). This court does not, however, accept

legal conclusions as true, and “[t]hreadbare recitals of the

elements of a cause of action, supported by mere conclusory

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statements, do not suffice.” Iqbal, 556 U.S. at 678. This court

will not “ignore a clear failure in the pleadings to allege any

facts which set forth a claim.” Estate of Williams-Moore, 335 F.

Supp. 2d at 646.

    When sitting in diversity jurisdiction, as here, this court

applies the substantive state law in accordance with the highest

court of the state in which the suit was brought. Liberty Mut.

Ins. Co. v. Triangle Indus., Inc., 957 F.2d 1153, 1156 (4th Cir.

1992). If the highest state court has not addressed a relevant

issue, then this court looks to the state’s intermediate

appellate court decisions, though “such decisions may be

disregarded if the federal court is convinced by other

persuasive data that the highest court of the state would decide

otherwise.” Id. (citations and internal quotation marks

omitted). This court will therefore apply North Carolina law to

the breach of contract claim here, in accordance with North

Carolina Supreme Court precedent or, in the absence of such

precedent, in predicting how the Supreme Court of North Carolina

would rule. See Twin City Fire Ins. Co. v. Ben Arnold-Sunbelt

Beverage Co., 433 F.3d 365, 369 (4th Cir. 2005) (citations

omitted).




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III. ANALYSIS

    The issue presented here is a narrow one: whether the

policies, procedures, alleged obligations, and tenets outlined

in Elon’s Student Handbook plausibly establish an enforceable

contract. Taking the allegations in the Amended Complaint as

true, this court finds that they do not. The Amended Complaint,

therefore, will be dismissed.

    Under North Carolina law, “[t]he elements of a claim for

breach of contract are (1) existence of a valid contract and (2)

breach of the terms of that contract.” Poor v. Hill, 138 N.C.

App. 19, 26, 530 S.E.2d 838, 843 (N.C. Ct. App. 2000) (citation

omitted). “No contract is formed without an agreement to which

at least two parties manifest an intent to be bound.” Parker v.

Glosson, 182 N.C. App. 229, 232, 641 S.E.2d 735, 737 (N.C. Ct.

App. 2007) (certain citations omitted) (citing Croom v.

Goldsboro Lumber Co., 182 N.C. 217, 220, 108 S.E. 735, 737

(1921)). A contract does not exist if “one party simply believes

that a contract exists, but there is no meeting of the minds.”

Elliott v. Duke Univ., Inc., 66 N.C. App. 590, 595, 311 S.E.2d

632, 636 (1984) (citing Brown v. Williams, 196 N.C. 247, 145

S.E. 233 (1928)). Further, “[i]f any portion of the proposed

terms is not settled, or no mode agreed on by which they may be

settled, there is no agreement.” Croom, 182 N.C. at 217, 108

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S.E. at 737. North Carolina courts have consistently held that

“a contract must be sufficiently definite in order that a court

may enforce it.” See, e.g., Brooks v. Hackney, 329 N.C. 166,

170, 404 S.E.2d 854, 857 (1991).

    It appears that the North Carolina Supreme Court has yet to

squarely address the issue presented here, but most North

Carolina lower courts and federal courts applying North Carolina

law have found that university handbooks, bulletins, guidelines,

codes of conduct, manuals, and the like are not independently

enforceable contracts. See, e.g., Black v. W. Carolina Univ.,

109 N.C. App. 209, 213, 426 S.E.2d 733, 736 (N.C. Ct. App. 1993)

(holding that the University of North Carolina Code was not part

of a professor’s employment contract where not expressly

incorporated into the contract; affirming lower court’s entry of

summary judgment for defendant on plaintiff’s breach of contract

claim); Love v. Duke Univ., 776 F. Supp. 1070, 1075 (M.D.N.C.

1991) (finding that Duke’s University Bulletin was not a binding

contract). Rather, terms found in such unilaterally produced

documents must be explicitly included in or incorporated into a

valid and enforceable contract for those terms themselves to

become enforceable obligations. See, e.g., Montessori Children’s

House of Durham v. Blizzard, 244 N.C. App. 633, 640–41, 781

S.E.2d 511, 517 (N.C. Ct. App. 2016) (rejecting a breach of

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contract claim based on “statements contained on a private

school’s webpage or in its advertisements that are not expressly

incorporated by reference into a contract for admission”);

Supplee v. Miller-Motte Bus. Coll., Inc., 239 N.C. App. 208,

219-20, 768 S.E.2d 582, 592 (N.C. Ct. App. 2015) (affirming

judgment in favor of business student on breach of contract

claim against business school for failure to follow procedures

in its student catalog where the catalog was explicitly

incorporated into two separate enrollment agreements signed by

the student); Williams v. Livingstone Coll., Inc., No. COA14-

696, 2015 WL 660799, at *4 (N.C. Ct. App. Feb. 7, 2015) (holding

that the plaintiff-college relationship was contractual and

inclusive of a college’s catalog setting forth graduation

requirements where plaintiff executed a contract with the

college that incorporated such catalog); Guiliani v. Duke Univ.,

No. 1:08CV502, 2010 WL 1292321, at *8 (M.D.N.C. Mar. 30, 2010)

(dismissing breach of contract claim premised on Duke’s student

handbooks and policy manuals that were not alleged to have been

incorporated into an enforceable contract between the plaintiff

and Duke).

    This court recently revisited the question of whether the

policies and procedures outlined in a college’s handbook form a

binding contract between a student and the college. See Chandler

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v. Forsyth Tech. Cmty. Coll., 294 F. Supp. 3d 445, 458-59

(M.D.N.C.), aff’d, 739 F. App’x 203 (4th Cir. 2018). After

summarizing the state of the law in North Carolina on the issue,

this court concluded that, absent an allegation of an

enforceable contract explicitly including or incorporating

policies or procedures outlined in a college handbook, a student

cannot premise a breach of contract claim on those policies and

procedures. See id. (citing Samost v. Duke Univ., 226 N.C. App.

514, 518-20, 742 S.E.2d 257, 260-61 (N.C. Ct. App. 2013); Ryan

v. Univ. of N.C. Hosps., 128 N.C. App. 300, 301, 494 S.E.2d 789,

790 (N.C. Ct. App. 1998); Guiliani, 2010 WL 1292321, at *8;

Mercer v. Duke Univ., No. 1:97CV959, slip op. at 14 (M.D.N.C.

Sept. 28, 2000); Love, 776 F. Supp. at 1075). This court’s

research reveals no significant updates to North Carolina

caselaw in the interim between this court’s decision in Chandler




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and today’s decision.4

     Plaintiff alleges no contract between himself and Defendant

that incorporates or includes any of the procedures and

undertakings outlined in Elon’s Student Handbook. Plaintiff has

neither produced a copy of, nor alleged the existence of, a

document or agreement that this court could plausibly interpret

as an enforceable contract. The procedures set forth in the

Student Handbook are unilateral and aspirational undertakings by

Defendant. As a result, even construing the Amended Complaint in

the light most favorable to Plaintiff, this court cannot find

that Plaintiff plausibly alleges that the disciplinary

procedures set forth in the Student Handbook are part of an

enforceable contract.

     Rather than alleging the existence of a specific,

enforceable contract, Plaintiff alleges and argues in conclusive


     4 After this court’s decision in Chandler, another district
court in North Carolina denied a motion to dismiss a breach of
contract claim premised on an alleged failure to follow a
specifically identifiable contractual promise in a graduate
school’s appeal policy that allowed a student to continue
coursework during the pendency of any appeal. Neal v. Univ. of
N.C., No. 5:17-CV-00186-BR, 2018 WL 2027730, at *7 (E.D.N.C.
May 1, 2018) (citing McFadyen v. Duke Univ., 786 F. Supp. 2d
887, 983 (M.D.N.C. 2011), aff’d in part, rev’d in part,
dismissed in part sub nom. Evans v. Chalmers, 703 F.3d 636 (4th
Cir. 2012)). As this court will discuss herein, Plaintiff does
not allege a specifically identifiable contractual promise, and
this court does not find the court’s decision in McFadyen, on
which the court in Neal relied, particularly persuasive.

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fashion that “[t]he basic legal relation between a student and a

private university or college is contractual in nature.” (Am.

Compl. (Doc. 14) ¶ 40; Pl.’s Resp. (Doc. 17) at 3 & n.12.) As

Defendant notes, however, Plaintiff misattributes this quotation

to the North Carolina Court of Appeals in Ryan, 128 N.C. App.

300, 494 S.E.2d 789. (Def.’s Reply (Doc. 20) at 3-4.)

Plaintiff’s quotation is instead from the Seventh Circuit’s

decision in Ross v. Creighton University, 957 F.2d 410, 416 (7th

Cir. 1992), a case where the court applied Illinois law.5 Even if

there were some implied contractual relationship between

Plaintiff and Elon, Plaintiff has not alleged that the implied

contractual relationship incorporated Elon’s undertakings set

forth in the Student Handbook.

     Despite the many cases rejecting a theory that a student

handbook creates a contractual obligation as a matter of law,

courts in three relatively recent cases have allowed a claim


     5 In Ryan, the North Carolina Court of Appeals favorably
cited the Seventh Circuit’s decision in Ross. See Ryan, 128 N.C.
App. at 302, 494 S.E.2d at 791 (citing Ross, 957 F.2d at 411).
But “[t]he North Carolina courts have expressly limited
application of the Ryan holding to cases where there is an
explicit, identifiable contractual promise.” McClean v. Duke
Univ., No. 1:17CV603, 2019 WL 1333421, at *11 (M.D.N.C. Mar. 25,
2019) (citing Blizzard, 244 N.C. App. at 641-42, 781 S.E.2d at
517). In Ryan, that explicit, identifiable contractual promise
was in the form of a written medical residency contract. 128
N.C. App. at 301, 494 S.E.2d at 790. Here, Plaintiff alleges no
similar contract.

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premised on such a theory to survive a motion to dismiss. The

courts in those cases found that the plaintiffs plausibly

alleged a limited, enforceable contractual obligation arising

from a process violation, as opposed to a substantive violation,

under a university handbook. Plaintiff relies heavily on two of

those cases: McFadyen, 786 F. Supp. 2d at 887, and Myers v.

Bradford Preparatory School, Civil Action No. 3:17-CV-099-RJC-

DCK, 2017 WL 6820203 (W.D.N.C. Oct. 19, 2017), R&R adopted by

2018 WL 325310 (W.D.N.C. Jan. 8, 2018). The third case is Neal,

2018 WL 2027730, which this court discussed supra at note 4.

    In McFadyen, the district court allowed the plaintiffs’

breach of contract claim against Duke to proceed on the limited

basis of Duke’s alleged failure to follow disciplinary

procedures set forth in Duke’s Student Bulletin and Code of

Conduct. See 786 F. Supp. 2d at 983. The court first stated

that, “courts in [the Middle District of North Carolina] have

repeatedly concluded that a university’s academic bulletins and

policies cannot be the basis of a breach of contract claim

unless . . . incorporated into the terms of a contract between

the university and the student.” Id. at 982 (collecting cases).

But the court then stated:

    Although a breach of contract claim would not allow
    for review of the substance of the disciplinary
    proceedings, since that is a matter left to

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     educational discretion, a breach of contract claim
     could potentially reach the limited inquiry of whether
     Duke failed to follow promised procedures for imposing
     discipline (particularly suspension) under the Code of
     Conduct. See Havlik v. Johnson & Wales Univ., 509 F.3d
     25, 34-35 (1st Cir. 2007) (noting that a student’s
     relationship to his university is based in contract,
     and “if the university explicitly promises an appeal
     process in disciplinary matters, that process must be
     carried out in line with the student’s reasonable
     expectations”). Therefore, the Court will allow this
     aspect of Plaintiffs’ breach of contract claim to
     proceed, but only against Duke and only on this
     limited basis with regard to the failure to follow
     promised procedures in the disciplinary process.
     However, the Court will not entertain a substantive
     challenge to Duke’s disciplinary decision or otherwise
     open up any type of “educational malpractice” claim.

Id. at 983. The district courts in Neal and Myers followed that

analysis. See Neal, 2018 WL 2027730, at *7; Myers, 2018 WL

325310, at *2.6

     These cases do not persuade this court to hold in

Plaintiff’s favor. In McFadyen, the court did not address or

explain how it concluded that a contractual provision was

formed, when it was formed, how it bound the parties, or whether

consideration existed to support the finding of a binding



     6 The district court in Myers cautiously adopted the
magistrate judge’s recommendation to deny the defendants’ motion
to dismiss the plaintiffs’ breach of contract claim premised on
a school’s failure to follow disciplinary procedures in its
handbook. The district court found McFadyen “persuasive enough
to allow Plaintiffs’ claim to survive at least until discovery
has been completed and dispositive motions have been filed.” See
Myers, 2018 WL 325310, at *2.

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contractual promise. This court cannot determine whether or how

the court in McFadyen considered those issues or whether facts

existed in that case which are not present here. In Myers, the

district court relied on McFadyen to allow the plaintiffs’

breach of contract claim to proceed, but the plaintiffs there

had also specifically alleged that they “entered into two

separate contracts with [the school] by signing agreements

related to [the school’s] Honor Code, Student Code of Conduct,

and Student and Parent Handbook.” 2017 WL 6820203, at *1, *4

(report and recommendation); see also Myers, 2018 WL 325310, at

*2 (adopting report and recommendation). To the extent that the

plaintiffs in Myers alleged an executed written contract that

incorporated the unfollowed procedures, the decision is

consistent with this court’s analysis of North Carolina law.

    Here, Plaintiff does not allege when he and Elon entered

into a contract. Plaintiff does not allege that he signed any

written agreement relating to the Student Handbook or that he

signed any agreement at all. Plaintiff does allege that Elon

made the “promises” in the Student Handbook “[i]n consideration

of the fees and expenses paid by Shaw.” (Am. Compl. (Doc. 14)




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¶ 43.)7 Nevertheless, even assuming arguendo that the North

Carolina Supreme Court would agree with the court’s reasoning in

McFadyen, i.e., that a student handbook’s disciplinary

procedures could constitute a contractual obligation, this court

is not persuaded the North Carolina Supreme Court would rule

that way about Elon’s Student Handbook. Elon’s “promises” cannot

plausibly be viewed independently or collectively as an

enforceable contract that requires Elon to provide the

disciplinary process exactly as described in the Student

Handbook. Plaintiff has not plausibly alleged a provision

evidencing Elon’s intent to be bound, and Plaintiff fails to

allege how certain provisions inure to his benefit. The language

Elon employs in its Student Handbook is aspirational and cannot

reasonably be interpreted as a guarantee.

     Before addressing the Student Handbook’s language, the

court notes that Plaintiff received the disciplinary process set




     7 Although not necessary to this decision, this court notes
that this allegation is not supported by specific facts
sufficient to plausibly allege there was an exchange of
consideration. Elon specifically reserved the right to modify
the procedures in the Student Handbook at any time. (See Student
Handbook (Doc. 15-1) at 1 (“Updates to all sections of the
Student Handbook may be posted periodically.”).)


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forth in the Student Handbook.8 Elon conducted a preliminary

investigation. Plaintiff received notice of a student conduct

conference, and one was held. Plaintiff received notice of a

student conduct hearing, and one was held. Following the student

conduct hearing, Plaintiff was suspended. Plaintiff appealed his

suspension to the Elon University Appeal Board, which upheld it.

Plaintiff complains primarily about Elon’s failure to follow the

timeline for the disciplinary process as outlined in the Student

Handbook.

     The Formal Conduct Procedures provide the following:

violations “should be handled expeditiously and thoroughly,”

(Student Handbook (Doc. 15-1) at 35); the preliminary inquiry

“typically take[s] one to seven (1-7) business days,” (id. at

40); and “[m]ost [formal] hearings are completed within 30 days

of the incident,” (id. at 42). Plaintiff alleges that, in his

case, Elon: failed to conduct the preliminary inquiry within one

to seven business days, (Am. Compl. (Doc. 14) ¶¶ 20, 24); did

not notify Plaintiff of his student conduct conference until

twenty-nine days after the preliminary inquiry was initiated,




     8 It also appears that Plaintiff received all of the
entitlements identified as “Student Rights” in the Student
Handbook. (See id. at 34.)

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(id. ¶ 26); and did not conduct Plaintiff’s formal hearing until

fifty-five days after the altercation, (id. ¶ 33).

    The Student Handbook does not purport to be a binding

contract, and this court disagrees with Plaintiff’s

characterization of the Formal Conduct Procedures as explicit

promises made by Elon. Rather, Elon’s procedures are couched in

language that avoids any commitment by Elon to follow rigid

procedures – the language is aspirational, establishing no firm

and definite timeline or terms. While violations should be

handled “expeditiously and thoroughly,” the Student Handbook

then states that “not all situations are of the same severity or

complexity,” the “procedures are flexible,” and the procedures

“are not exactly the same in every situation.” (Student Handbook

(Doc. 15-1) at 35.) Whether a violation is handled

“expeditiously and thoroughly” clearly depends on the

circumstances of the violation. As to the one-to-seven-day

period for the preliminary inquiry, Elon’s use of “typically”

neither limits the period to that timeframe nor excludes

atypical timeframes. And the statement that “most” hearings are

conducted within thirty days is a statement of historical

experience, not a firm commitment to conduct hearings in the

future within thirty days.



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    Elon’s use of this open-ended language in the Student

Handbook does not evince Elon’s manifestation of an intent to be

bound, which is required to form a contract with Plaintiff. See

Parker, 182 N.C. App. at 232, 641 S.E.2d at 737 (certain

citations omitted) (citing Croom, 182 N.C. at 220, 108 S.E. at

737). In addition, Elon reserves the right to modify the

procedures in its Student Handbook without notice to its

students. (See Student Handbook (Doc. 15-1) at 1 (“Updates to

all sections of the Student Handbook may be posted

periodically.”).) Elon’s reservation significantly undermines

any inference that the Code of Conduct or Formal Conduct

Procedures form an enforceable contract. See Cash v. Lees-McRae

Coll., Inc., No. 1:18CV52, 2018 WL 7297876, at *12 (W.D.N.C.

Aug. 13, 2018), R&R adopted by, No. 1:18-CV-00052-MR-WCM, 2019

WL 276842 (W.D.N.C. Jan. 22, 2019), appeal filed, No. 19-1135

(4th Cir. Feb. 6, 2019) (citing Biggs v. Ocwen Loan Servicing,

LLC, No. 1:14CV783, 2015 WL 4651809, at *4 (M.D.N.C. Aug. 5,

2018)) (“[B]ecause the Student Code of Conduct could be altered

by Defendant College at any time, without consideration, it was

not a valid and enforceable contract.”). This court concludes

from the language of the Student Handbook that the procedures

outlined therein are not enforceable contractual obligations.



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    Plaintiff also alleges that Elon “breached its contractual

promises to Shaw by failing to make a decision based on a

preponderance of the evidence.” (Am. Compl. (Doc. 14) ¶ 45.) In

support of that allegation, Plaintiff alleges that his “conduct

file” did not contain any of the witness statements. (See id.

¶ 36.) But Plaintiff admits that he tackled and struck Schar and

that Elon’s Director of Student Conduct spoke with Plaintiff,

Schar, and two other witnesses. (See id. ¶¶ 14, 21, 28, 30, 33.)

Plaintiff alleges no plausible facts to support his conclusion

that Elon failed to base its decision upon a preponderance of

the evidence. In an effort to raise some inference of

wrongdoing, Plaintiff makes much of his alleged belief that Elon

issued Schar a less severe disciplinary suspension. (See id.

¶¶ 37, 46.) In the absence of more facts, however, that is not




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clear.9 More importantly, Plaintiff’s allegations concerning

Schar’s punishment do not advance Plaintiff’s assertion that the

Code of Conduct and Formal Conduct Procedures form an

enforceable contract. Inconsistent punishment – on which this

court in no way opines – would be a fact to consider in

analyzing whether Elon acted contrary to language in the Student

Handbook, not whether that language formed a contractually

enforceable promise in the first place.

     Plaintiff does argue that Williams, the Director of Student

Conduct, failed to consult with the Dean of Students prior to

rendering his disciplinary decision, as the Student Handbook

provides a hearing officer should do when their recommended

sanction is disciplinary suspension. (Pl.’s Resp. (Doc. 17) at

6.) It is not clear, however, what benefit inures to Plaintiff



     9 Plaintiff alleges that Schar received a “lesser
disciplinary suspension” and “assaulted three students,
including two females.” (Am. Compl. (Doc. 14) ¶¶ 37, 46.)
Plaintiff does not allege what violations Elon considered as to
Schar. Instead, Plaintiff alleges what he was told about Schar’s
conduct. (Id. ¶¶ 10-11.) Further, Plaintiff’s allegations in
this regard resemble a substantive challenge to Elon’s
disciplinary decision, a challenge precluded by the very cases
on which Plaintiff relies. See McFadyen, 786 F. Supp. 2d at 983
(“[T]he Court will not entertain a substantive challenge to
Duke’s disciplinary decision . . . .”); Myers, 2018 WL 325310,
at *2 (noting that the plaintiffs’ “breach of contract claim
survives on a distinction between enforcing substantive rights
under codes of conduct and enforcing procedural mechanisms for
imposing discipline”).

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from the consultation provision. The hearing officer is required

only to consult with the Dean of Students, not to seek or follow

any recommendation from the Dean. (See Student Handbook (Doc.

15-1) at 42.) Furthermore, there is no corresponding timeframe

to the consultation requirement. Plaintiff points to Williams

entering a case resolution form seventeen minutes after the

start of Plaintiff’s hearing as the best evidence that Williams

failed to consult with the Dean. But the Student Handbook

provides that a case resolution form merely indicates whether a

student was “Responsible” or “Not Responsible” for a violation.

(Id.) Plaintiff’s case resolution form “indicat[ed] that Shaw

was responsible for fighting or acts of aggression and

disorderly conduct.” (Am. Compl. (Doc. 14) ¶ 34.) But that

alleged fact does not create a reasonable inference that no

consultation as to Plaintiff’s punishment occurred, whether

immediately after the hearing or at all, especially absent any

specific allegation as to when Elon announced Plaintiff’s

punishment.

    Taking the facts alleged as true, it appears that Elon

might have deviated from the norms outlined in its Formal

Conduct Procedures, but those norms are not part of an

enforceable contract under North Carolina law. For all the

reasons set forth herein, Defendant’s motion will be granted.

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IV.    CONCLUSION

       IT IS THEREFORE ORDERED that Defendant’s Motion to Dismiss,

(Doc. 15), is GRANTED.

       IT IS FURTHER ORDERED that Plaintiff’s Amended Complaint,

(Doc. 14), is DISMISSED.

       A Judgment consistent with this Memorandum Opinion and

Order will be entered contemporaneously herewith.

       This the 18th day of July, 2019.



                                ____________________________________
                                    United States District Judge




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